    Case: 1:14-cv-06057 Document #: 58 Filed: 09/21/15 Page 1 of 3 PageID #:337




                    IN THE UNITED STATES DISTRICT COURT
               NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISION

 LOWELL DAVIS,                                 ) Case No. 14-cv-06057
                                               )
                      Plaintiff,               ) U.S. District Judge Matthew F. Kennelly
                                               )
                     v.                        ) U.S. Magistrate Judge Jeffrey Cole
                                               )
 CHIPOTLE MEXICAN GRILL, INC.,                 )
                                               )
                      Defendant.               )

                  DEFENDANT CHIPOTLE MEXICAN GRILL, INC.’S
               FEDERAL RULE 56 MOTION FOR SUMMARY JUDGMENT

       Defendant Chipotle Mexican Grill, Inc. (“Chipotle”), by and through its attorneys,

Michelle L. Harden and Jacqueline R. Guesno of Messner Reeves LLP, and David J Stein of

Masuda, Funai, Eifert & Mitchell, Ltd., and pursuant to Federal Rule of Civil Procedure 56 and

Rule 56.1 of the Local Rules of the Northern District of Illinois, hereby moves for summary

judgment in its favor and against Plaintiff Lowell Davis (“Plaintiff”), as there is no genuine issue

of material fact in dispute and judgment is appropriate as a matter of law. In support of its Motion,

Chipotle submits its contemporaneously filed Memorandum of Law, Local Rule 56.1 Statement

of Undisputed Material Facts, and supporting exhibits, and states as follows:

       1.      The Court should grant summary judgment in favor of Chipotle and against

Plaintiff because there is no material fact in dispute and Chipotle is entitled to judgment as a matter

of law on all claims alleged in Plaintiff’s Amended Complaint.

       2.      As more fully explained in Chipotle’s contemporaneously filed Memorandum of

Law, the Court should grant summary judgment in favor of Chipotle on Plaintiff’s claims for false

arrest (Count I), false imprisonment (Count II), malicious prosecution (Count III), intentional

infliction of emotion distress (Count IV), and negligent training/supervision (Count V) for the

following reasons.
    Case: 1:14-cv-06057 Document #: 58 Filed: 09/21/15 Page 2 of 3 PageID #:338




       3.      First, Chipotle is not vicariously liable for any of the actions of its employees on

June 3, 2013 because Chipotle did not press charges and made its employee, Cassandra Imeson

(“Imeson”), aware that it was her individual choice as to whether to press charges Plaintiff.

       4.      Second, in regards to Plaintiff’s claims for malicious prosecution, false arrest, and

false imprisonment, Chipotle is entitled to summary judgment because the undisputed evidence

demonstrates that probable cause existed for Plaintiff’s arrest on June 3, 2013. Lack of probable

cause is an essential element in malicious prosecution, false arrest, and false imprisonment claims,

and Plaintiff fails to show that probable cause was absent at the time of his arrest.

       5.      Third, Plaintiff’s claims for false arrest and false imprisonment must fail for the

additional reason that Plaintiff voluntarily consented to remain on Chipotle’s premises until the

police arrived and was not restrained by any Chipotle employee in any way on June 3, 2013.

       6.      Fourth, Plaintiff has failed to provide any evidence of malicious intent, which is a

required element for a malicious prosecution claim. Here, the record demonstrates that Chipotle’s

employees informed the police about what had occurred on June 3, 2013 for the very purpose of

bringing Plaintiff to justice and not for any other reason.

       7.      Fifth, Plaintiff’s claim for Intentional Infliction of Emotional Distress (“IIED”)

fails because the summary judgment record is devoid of any evidence that shows Chipotle engaged

in any extreme and outrageous conduct toward Plaintiff, and, further, Plaintiff did not suffer severe

emotional distress as a result.

       8.      Sixth, and finally, Plaintiff’s claims for negligent training and supervision fail for

three reasons: (1) Chipotle had no knowledge, or reason to know, that the employees involved in

this case were unfit for their respective positions; (2) Plaintiff’s negligent training and supervision




                                                  2
    Case: 1:14-cv-06057 Document #: 58 Filed: 09/21/15 Page 3 of 3 PageID #:339




claims are barred by absolute privilege; and, finally, (3) the majority of Plaintiff’s damages are

barred by the Moorman doctrine.

       9.      For all of these reasons, and the reasons more fully set forth in Chipotle’s

supporting papers filed contemporaneously herewith, Chipotle is entitled to summary judgment on

all of the claims alleged in Plaintiff’s Amended Complaint.

       WHEREFORE, for all the reasons stated herein and in Chipotle’s contemporaneously filed

Memorandum in Support of its Motion for Summary Judgment, Local Rule 56.1 Statement of

Undisputed Material Facts, and supporting exhibits, Defendant Chipotle Mexican Grill, Inc.

respectfully requests that this Court enter an Order granting its Motion for Summary Judgment,

entering judgment in its favor and against Plaintiff on all claims in the Amended Complaint,

terminating this cause with prejudice, and granting Chipotle any other and further relief that this

Court deems equitable and just, including the costs incurred in defense of this matter.

                                             Respectfully submitted,

                                             CHIPOTLE MEXICAN GRILL, INC.

                                      By:    /s/David J. Stein_________________
                                             David J. Stein (IL ARDC #6307086)
                                             Masuda, Funai , Eifert & Mitchell, Ltd.
                                             203 North LaSalle Street, Suite 2500
                                             Chicago, Illinois 60601
                                             P: (312) 245-7500
                                             F: (312) 245-7467
                                             dstein@masudafunai.com

                                             Michelle L. Harden (CO. Bar No. 36682)*
                                             Jacqueline R. Guesno (CO. Bar No. 34753)
                                             Messner Reeves LLP
                                             1430 Wynkoop St., Suite 300
                                             Denver, Colorado 80202
                                             P: (303) 623-1800
                                             F: (303) 623-0552
                                             jguesno@messner.com
                                             Attorneys for Defendant Chipotle


                                                 3
